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UNITED STATES DISTRICT COURT, DISTRICT OF N.J.
50 WALNUT ST. NEWARK, Nd 07102
THOMAS R. ROGERS, ET AL. ,
,Plaintiff(s)

Docket No. 3:18-CV-01544-BR! ce

 

 

 

 

- against - :
GURBIR GREWAL, ET AL. —
Defendant (5) — _—_ __ ace
AFFIDAVIT OF SERVICE ( ATTORNEY GENERAL ~ STATE OF NEW JERSEY ) a
I, RAMI AMER , A COMPETENT ADULT AT THE TIME OF SERVICE AM OVER THE

AGE OF 18, NOT A PARTY TO THIS ACTION AND DO NOT HAVE A DIRECT INTEREST IN
THIS LITIGATION, BEING DULY SWORN ACCORDING TO LAW UPON MY OATH DEPOSE AND SAY:
I SERVED THE FOLLOWING DOCUMENTS:

SUMMONS & COMPLAINT
CIVIL COVER SHEET
CORPORATE DISCLOSURE STATEMENT

pats or service: 2-G-l¥ arj/0:s0oA™ ?

PLACE OF SERVICE: 25 WEST MARKET STREET
TRENTON NJ 08625

THE UNDERSIGNED SERVED THE ANNEXED PAPERS TO WIT:
SERVED: GURBIR GREWAL
c/O ATTORNEY GENERAL FOR NEW JERSEY

A true and correct copy of the aforesaid papers were served on the above named
defendant in the following manner: :

NAME OF PERSON ACCEPTING sERVice: €LLen Se ITZ

TITLE: AUTHORIZED TO ACCEPT SERVICE ON BEHALF OF THE ATTORNEY GENERAL'S OFFICE
STATE OF NEW JERSEY.

Description of person accepting service of documents:

AGE: HEIGHT: C/Yy “ WEIGHT:/fO HAIR: BlocK RACE: C440 sex: Female,

SWORN AND SUBSCRIBED TO BEFORE ME UNDERSIGNED DECLARES UNDER PENALTY

44 Fel OF PERJURY THAT THE FOREGOING I5 i
THIS G DAY ° : aol TRUE AND CORRECT.

_——f-

Creme
A

NOTARY Tei cmieenas EXPIRES

KATAPFYNA AMER
NOTARY.PGLi s. “= NEW JERSEY
My Commission Expires 8/30/2022

 

 

 

DGR - The Source for Legal Support
1359 Littleton Road, Morris Plains, NJ 07950-3000
Bite # %:1R-CV-01544-BRM-DBA3) 403-1700 Fax (973) 403-9222 Work Order # 374452
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,. . Case 3:18-cv-01544-BRM-DEA Document3 Filed 02/05/18 Page 1 of 2 PagelD: 32 _
UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY ey
THOMAS R. ROGERS, ET AL.,
Plaintiff
V. SUMMONS IN A CIVIL CASE
GURBIR GREWAL, ET AL.,
Defendant

CASE i
NUMBER: 3:18-CV-01544-BRM-DEA

TO: (Name and address of Defendant):
Gurbir Grewal
Office of The Attorney General
RJ Hughes Justice Complex ;
25 Market Street, Box 080 2
Trenton, NJ 08625 :

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it)

—- or 60 days if you are the United States or a United States Agency, or an office or employee of
the United States described in Fed. R. civ. P. 12 (a)(2) or (3) —— you must serve on the plaintiff
an answer to the attached complaint or a motion under rule 12 of the Federal Rules of Civil
Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney, whose
name and address are:

Daniel L. Schmutter

HARTMAN & WINNICKI, P.C.

74 Passaic Street

Ridgewood, New Jersey 07450

If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint. You also must file your answer or motion with the court.

WILLIAM T. WALSH
CLERK

 

John Moller
(By) DEPUTY CLERK

   

 

 

ISSUED ON 2018-02-05 14:37:56, Clerk
USDC NID
